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To the esteemed Mr. Daniel Dadon, the great man of deeds
I have long wished to thank you for your important activities and help in all the various areas, be
it in establishing vital organizations or extending monthly support to hundreds of large families,
all with an unbelievably good heart and so much generosity, and with no expectations in return.
Every time I have heard you speak, I saw clearly that whatever you do is done gladly and from
the goodness of your heart. You always strive to help others as much as you can and you
constantly come up with new ideas to do so and to spread light.
I am duly impressed, and I thank you again for your wonderful accomplishments. May you be
able to continue with all that you do and all your endeavors and ideas, and may you further
succeed in assisting others.
With respect and appreciation,
Yosef Abutbul
Mifal Hashas Gemara Study Center 5/5, Beitar Illit
050-414-9343
Case 3:25-cr-00215-RK        Document 18-1        Filed 09/19/24     Page 3 of 19 PageID: 54



To the revered benefactor Rabbi Daniel Dadon
I hereby extend my heartfeft thanks for your aid and assistance in sponsoring free vouchers for
groceries before the High Holidays.
These vouchers helped us tremendously and allowed us to celebrate the holidays in peace and
joy with no worries.
May G-d repay you for your kindness plentifully
With much appreciation, Ben Tzion Avital
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Dear Rabbi Danie Dadon, man of great charity!
I want to thank you for the generous gifts we received from you before the holidays. You have
literally gifted us with joy in our holidays. It is clear that with your help, we were able to celebrate
with much mare happiness.
I want to wish you to merit continuing to give to all those thousands of families generous gifts
before the annual High Holidays and on other special occasions as is your custom. And you
should continue to do good and to give to thousands of people the world over.
Yours, Efrat Avitan
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I wish to express our deep feelings of gratitude to Mr. Daniel Dadon for the amazing things he
does for our community and specifically, for us.
Mr. Dadon has helped us a lot over a number of years. He eased our financial stress by
assisting generously with holiday expenses and by sending useful gifts such as vouchers,
watches, pots and other necessary items.
Additionally, Mr. Dadon helped us marry off our son- he sponsored the hail and the band.
Many members of our community receive free dental treatments sponsored by him, and the
large families among us receive funds for large one-time expenses.
With much blessing and appreciation
Hadassa Avitan
Yeshuot David St. 4, Modiin Illit
053-31 5-7078
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lOAdarS, 5784
I want to testify about the beloved donor, the great Mr. Daniel Dadon by whom I was personally
helped, when he helped me pay for my son’s wedding six years ago. I know that many of my
friends have likewise received financial aid from him- they are all in a state in which they need
support and cannot manage to support their families and households on their own.
In addition, there are people who have been suffering for many years from toothache but could
not afford dental care. Until Mr. Daneil Dadon came into the picture and offered to sponsor the
treatments. My friend’s wife, for example, suffered from terrible toothache after several births but
they could not afford to treat it. And then Mr. Daniel paid for it in full.
On top of all this, Mr. Dadon pays from his own pocket generous monthly stipends for many
married Torah Scholars in his chain of Kollels- Torah Learning centers. And when one of the
students’ washer machine breaks or a refrigerator ceases to work, said scholar and his family
receive that month an additional bonus on top of the monthly stipend so they can afford a new
machine. And that is how he spreads light and joy in so many homes.
All these activities and many more show Mr. Dadon’s exceptional good-heartedness. He
donates so generously to a young man every month and expects nothing in return. And now
that the man m=needs a new appliance, he gives him that as well. There is no other explanation
for this other than pure goodness of the heart, that comes directly from the good G-d, the source
of all goodness Who bestows blessing to all whom He created.
A friend and appreciating fan of Mr. Daniel Dadon,
Yaakov Avitan
Yeshuat David St. 4, Modün Nit
053-3 1 5-7076
Case 3:25-cr-00215-RK        Document 18-1        Filed 09/19/24     Page 7 of 19 PageID: 58



To the world-renowned donor, dear Daniel Dadon!
I want to thank you for arranging and paying for my dental care, which you gave me free of cost.
It was truly a huge help, as I had no means to pay for it and you have added peace and
pleasure to my life.
And of course, I thank you for the financial help before the holidays. You make our celebration
that much more delightful.
 Wishing you to merit continue making thousands of families happy!
y. Avitan
050-41 0-7774
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lOAdarS 5784
To the esteemed Ray Dadon.
Your acts of kindness are huge, and are famous the world over for the massive help they bring.
So much so that to came and write a little thank you note is almost a joke, for what are a few
words against your enormous efforts and accomplishments. But I will do what I feel I have to,
and I hereby wish to thank you in my name and in that of all the people you support. I thank you
for all the help and support, all of which are done with one single purpose: to give and to give
and to help and to support and to help some more. It is known that you yourself refrain from
many pleasures that many wealthy people indulge in. You save money in order to help the
public, even though you do not owe us a thing and even though you get nothing in return. One
thing is behind it all, and that is a heart of gold, a heart that is one piece of goodness and giving
to others.
And it is so clear and obvious that in times when there is more money, there is so much more
money being given too, such as the free weddings and more. And really, the organization
sponsoring weddings is a very big help, because when a family marries off a child the expenses
simply outnumber the income many times over. And the income for the families you support is,
obviously, not glorious. And there is the dowry to buy, and clothing to buy, and so many things
for the wedding to pay for, not to mention an apartment for the young couple, just the thought of
which can scare one off. And so much money is needed for the wedding, it can only be reached
through loans, and so on. And you, on your own, came and established this wonderful
organization. It is so helpful, it’s a tremendous assistance for parents of large families. It is a
sign of the good heart that never ceases to think and do to make things better and help others.
There are many individuals who help their fellows and do good, but such a true giver is rare,
one who gives from himself to no end and gives all that is his for the greater community. And not
in order to gain respect or a coveted position, the opposite is true- many times through the
giving the giver receives insults in return. Still, you go on and continue as much as is at all
possible, to benefit others, A patron like this I have not seen before. Ad this is a true patron.
Go on with the powers you have got, do not fear and do not despair. We are with you and pray
for your success.
Avraham Prachim
053-3 1 7-6946
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Shalom
We wish to publicly express our gratitude for the generous support we received from Mr. Daniel
Dadon, who assisted our family financially with the expenses related to our son’s wedding.
His support was especially helpful as we had so many expenses outweighing our income.
Mr Dadon’s help evidently came from his good will and pure desire to help a fellow, it is what
allowed us to manage financially during these times.
With much gratitude and appreciation,
A. Nussbaum and Family
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Dear Judge,

Daniel Dadoun I respectfully address you. To thank you for the
great opportunity for job growth within the company. I hope to
continue being part of this great DG Staffing Services. If at any
time you need my support or collaboration, do not hesitate to
contact me, I will be happy to help in any way I can

94 Berry St Somerset NJ 08873

Andres Borrero
03-21-2024
Case 3:25-cr-00215-RK   Document 18-1   Filed 09/19/24   Page 13 of 19 PageID: 64




Dear Judge,

I write these lines to talk about my boss Daniel Dadoun, he is an
excellent human being. When he comes to the company he is one
of us, greeting everyone without exception, he is very humble and
always worried about our well being. And if we have any
problems, and if he is able, he helps us without any hesitation.
The truth is for us who work with him, he is not a boss, he is a
friend, we love him very much and we wish him the best, it is a
pleasure to work with him. Thank you very much, Mr Daniel
Dadoun.

Sincerely Aurora Ortega
1323 Fernwood Ct New Brunswick
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Dear Judge,

To whom it may concern.

I want to start by highlighting that Mr. Daniel Dadoun is a wonderful human
being that I had the opportunity to meet in 2014. Personally, what I have to
say is that Daniel has changed my life and the lives of my five children. I
started out as a regular Warehouse employee and today I am in charge of
one part of the Responsibilities of his company. Thanks to Daniel, my five
children have shelter, food, clothing among other things. He has taught me
that everything in this life is possible by working hard and making an effort.

Daniel as a person is an extraordinary human being, he is a very
understandable, very human, very noble, he has helped many people in
addition to myself.

Daniel is an excellent boss who gives you positive examples, gives you the
opportunity to learn and develop with your own opinion.

Daniel is the kind of boss who gives you the necessary tools so that we can
be excellent employees. Today, I still work day by day in Mr. Daniel
Dadoun’s company and like me many other people depend on our
employer.

My correct Address is 294 Birmingham Rd, Pemberton NJ 08068.


 Dalia victoriano
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Dear Judge,

The reason for this letter is to express my sincere gratitude for the
support Daniel Dadoun has given me during the time I have been
with his agency. His help and understanding is important for all of
us who belong to his great work team, which has helped me grow
professionally. His support and advice is of great help to me. I feel
happy to remain with this great agency DG Staffing services.

343 Hamilton St, New Brunswick, NJ 08901

Francisco Lopez Castro

3/21/2024
Case 3:25-cr-00215-RK   Document 18-1   Filed 09/19/24   Page 16 of 19 PageID: 67




State: New Jersey
Date: 3/21/2024
Dear Judge,
Dear Daniel Dadoun,
Address: 94 Berry St Somerset NJ 08873

Today, with a feeling of deep gratitude, I wish to express my
gratitude for your exceptional leadership and for the trust placed
in me during my time at DG Staffing Services. Your ability to guide
and teach and motivate has left an indelible mark on my
professional development. I want to thank you for every
opportunity provided for your patience and for always being willing
to offer a word of encouragement or a word of wisdom. You have
been much more than a boss, you have been a mentor and a
guide throughout my time.

Through your direction, I have learned the importance of
teamwork, dedication and passion for what we do. You have been
a role model and a constant inspiration for me and the entire
team.

With deep respect,
Jesus Marquez
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Dear Judge,

Dear Daniel Dadoun,

Today with a feeling of deep gratitude I want to express my
gratitude for your exceptional leadership and for the trust placed
in me during my time at DJ Staffing Services. Your ability to
motivate people is exceptional. I also thank you because thanks
to you I can provide support to my family. I hope we continue
working together for a long time, he is a great person. Thank you.

155 Livingston Aye, New Brunswick NJ 08901

Jhovanni Meza Martinez
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03/21/2024
Dear Judge,

 My name is Roshni and I have been an employee of Daniel
Dadouns for about 2.5 years now. I started here at Wareworks as
a young and naive 26 year old, scared to see what the world had
in store for me. Daniel made it very easy for me since day 1 of me
starting to work for him. He was the one giving me hands-on
training to become a good sales manager for him, but also
making sure I was at ease and very comfortable in the work
setting. We used to go into NY together at times to visit clients
together. My favorite moments with him were in those car rides to
the city. We would talk about work, but also he became a good
friend and mentor of mine. I was able to open up to him about
numerous other things other than work, which he would try to
advise me on with the best of his knowledge. In my eyes he was
an amazing boss, mentor, friend, and also like a father figure to
me.

Thank you,

Roshni Patel
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Date: 3/21/2024

Dear Judge,

My name is Sandy Paz, and I have worked with Daniel Dadoun
since 2014, at 15 Thatcher Rd, Dayton NJ, in the company that at
that time was Seldat. I lasted until 2018 in that company, during
that time I had the opportunity to meet the person who is currently
my boss, I honestly don’t have bad memories either of the job or
of my boss, I was able to realize that he is a very understanding
person, he helps his neighbors, he helped his workers. I
remember that every year he had a party for the employees, he
gave many gifts. For me he is an excellent boss, and I say this
because I have worked in other places and suffered humiliation
and shouting.

My address is 395 Lee Aye, New Brunswick NJ 08901

Sandy Paz
